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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
 __________________________________
 TONY ANDREWS

                                 SHORT-FORM COMPLAINT

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Master Personal Injury Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Lability

 Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint as permitted

 by Pretrial Order No. 31.

         Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.      Plaintiff(s) Tony Andrews (“Plaintiff(s)”) brings this action (check the applicable
                designation):

                        ☒      On behalf of [himself/herself];


                        ☐      In representative capacity as the __________, on behalf of the
                               injured party, (Injured Party’s Name) ______________ .



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        2.      Injured Party is currently a resident and citizen of (City, State) ____Oklahoma City,
                Oklahoma _____ and claims damages as set forth below.

                                                       —OR—

                Decedent died on (Month, Day, Year) _________. At the time of Decedent’s death,
                Decedent was a resident and citizen of (City, State) _ ___________.

 If any party claims loss of consortium,

        3.      ___________________ (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) _______ ______.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                _____ _______.


    B. DEFENDANT(S)


        6.      Plaintiff(s) name(s) the following Defendants from the Master Personal Injury
                Complaint in this action:

                   a. Brand Manufacturers:



        1.      Defendant Boehringer Ingelheim Pharmaceuticals, Inc. (“BI”) is a Delaware
 corporation with its principal place of business located at 900 Ridgebury Road, Ridgefield,
 Connecticut 06877. BI is a subsidiary of the German company Boehringer Ingelheim Corporation.
 BI owned the U.S. rights to over-the-counter (“OTC”) Zantac between December 2006 and
 January 2017, and manufactured and distributed the drug in the United States during that period.

         2.     Defendant Sanofi US Services Inc., (“Sanofi”) is a Delaware corporation with its
 principal place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807, and is
 a wholly owned subsidiary of Sanofi S.A. Sanofi controlled the New Drug Application (“NDA”)
 for OTC Zantac starting in January 2017 through the present.

         3.     Defendant Chattem, Inc. (“Chattem”) is a Tennessee corporation with its principal
 place of business located at 1715 West 38th Street Chattanooga, Tennessee 37409. Chattem is a




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 wholly owned subsidiary of Sanofi S.A., a French multinational corporation. Chattem distributes
 OTC Zantac for Sanofi.

        4.      Defendant Pfizer, Inc. (“Pfizer”) is a Delaware corporation with its principal place
 of business located at 235 East 42nd Street, New York, New York 10017. Pfizer was the original
 NDA holder for OTC Zantac, and controlled the NDA between August 2004 and December 2006.

          5.     Defendant GlaxoSmithKline, LLC (“GSK”) is a Delaware corporation with its
 principal place of business located at 5 Crescent Drive, Philadelphia, Pennsylvania, 19112 and
 Five Moore Drive, Research Triangle, North Carolina, 27709. GSK was the original innovator of
 the Zantac drug and controlled the NDA for prescription Zantac between 1983 and 2009. By
 controlling the Zantac NDA it also directly controlled the labeling for all Zantac products through
 2009. And, GSK’s negligence and misconduct related to Zantac as an innovator directly led to the
 failure to warn for other OTC versions of Zantac



    C. JURISDICTION AND VENUE


        7.      Identify the Federal District Court in which Plaintiff(s) would have filed this action
                in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
                Court to which their original action was removed]: Oklahoma Western District
                Court.


        8.      Jurisdiction is proper upon diversity of citizenship.



                                      II.     PRODUCT USE


        9.      The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                       ☐       By prescription

                       ☒       Over the counter

        10.     The Injured Party used Zantac and/or generic ranitidine from approximately
                (month, year) _early 2000’s_ to _December 2019 .


                                   III.     PHYSICAL INJURY




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       11.    As a result of the Injured Party’s use of the medications specified above, [he/she]
              was diagnosed with the following specific type of cancer (check all that apply):

  Check all Cancer Type                                            Approximate       Date      of
  that                                                             Diagnosis
  apply
  ☐         BLADDER CANCER
  ☐          BRAIN CANCER
             BREAST CANCER
  ☐          COLORECTAL CANCER
             ESOPHAGEAL/THROAT/NASAL CANCER
             INTESTINAL CANCER
  ☐          KIDNEY CANCER
  ☐          LIVER CANCER
  ☐          LUNG CANCER
             OVARIAN CANCER
             PANCREATIC CANCER
             PROSTATE CANCER
             STOMACH CANCER
             TESTICULAR CANCER
             THYROID CANCER
             UTERINE CANCER
  ☒          OTHER CANCER: Non-Hodgkins              Lymphoma 12/18/2018

  ☐          DEATH (CAUSED BY CANCER)


       12.    Defendants, by their actions or inactions, proximately caused the injuries to
              Plaintiff(s).


                         IV.    CAUSES OF ACTION ASSERTED

       13.    The following Causes of Action asserted in the Master Personal Injury Complaint
              are asserted against the specified defendants in each class of Defendants
              enumerated therein, and the allegations with regard thereto are adopted in this Short
              Form Complaint by reference.

    Check if   COUNT Cause of Action
    Applicable
       ☒         I   STRICT PRODUCTS LIABILITY – FAILURE TO WARN

       ☒           II      STRICT PRODUCTS LIABILITY – DESIGN DEFECT




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    Check if   COUNT Cause of Action
    Applicable
       ☒         III STRICT PRODUCTS LIABILITY – MANUFACTURING
                     DEFECT

       ☒          IV      NEGLIGENCE – FAILURE TO WARN

       ☒          V       NEGLIGENT PRODUCT DESIGN

       ☒          VI      NEGLIGENT MANUFACTURING

       ☒         VII      GENERAL NEGLIGENCE

       ☒         VIII     NEGLIGENT MISREPRESENTATION

       ☒          IX      BREACH OF EXPRESS WARRANTIES

       ☒          X       BREACH OF IMPLIED WARRANTIES

       ☒          XI      VIOLATION OF CONSUMER PROTECTION AND
                          DECEPTIVE TRADE PRACTICES LAWS and specify the state’s
                          statute below:
                          ___________Oklahoma____________

                 XII      UNJUST ENRICHMENT

       ☐         XIII     LOSS OF CONSORTIUM

       ☐         XIV      SURVIVAL ACTION

       ☐         XV       WRONGFUL DEATH

                 XVI      OTHER:

                XVII      OTHER:


             If Count XVI or Count XVII is alleged, additional facts supporting the claim(s):




                                     V.     JURY DEMAND




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        14.     Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.



                                      VI.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

 action, jointly and severally to the full extent available in law or equity, as requested in the Master

 Personal Injury Complaint.



 Dated: November 9, 2020,
                                                        Respectfully submitted,

                                                        /s/ Christopher R. LoPalo
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